           Case 13-31231                Doc 26        Filed 09/17/18 Entered 09/17/18 04:22:23         Desc Final
                                                          Decree Page 1 of 1
Information to identify the case:
Debtor 1              Stephen Wayne Lillard                                  Social Security number or ITIN   xxx−xx−9100
                      First Name   Middle Name   Last Name                   EIN   _ _−_ _ _ _ _ _ _
Debtor 2                                                                     Social Security number or ITIN _ _ _ _
                      First Name   Middle Name   Last Name
(Spouse, if filing)
                                                                             EIN   _ _−_ _ _ _ _ _ _
United States Bankruptcy Court Western District of North Carolina

Case number: 13−31231



                                                             FINAL DECREE

The estate of the above named debtor has been fully administered.

IT IS ORDERED THAT:

       ♦ Warren L. Tadlock is discharged as trustee of the estate of the above named debtor and the bond is cancelled.
       ♦ The chapter 13 case of the above named debtor is closed.


Dated: September 17, 2018
BY THE COURT



Laura T. Beyer

United States Bankruptcy Judge


Electronically filed and signed (9/17/18)
